            Case 5:20-cv-00014-D Document 9 Filed 04/06/20 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF OKLAHOMA

Nikita Friday, et al______________________, )
                               Plaintiff      )
                                              )
vs.                                           )                  Case No.     CIV-20-14-D
                                              )
Rani Transportation, Inc, et al_____________, )                  December 2020 TRIAL DOCKET
                               Defendant      )

                                      SCHEDULING ORDER

Date    4-6-2020     ___         Judge     Timothy D. DeGiusti        Clerk      Mike Bailey

Appearing for Plaintiff
Appearing for Defendant

                 ❎ JURY TRIAL DEMANDED -                    NON-JURY TRIAL

               THE FOLLOWING DEADLINES ARE SET BY THE COURT

1.     Motions to join additional parties to be       5.     Plaintiff to file a final exhibit list by
       filed by within 14 days of this order.                 August 21, 2020 .* Defendant to file
                                                             objections to plaintiff’s final exhibit list,
2.     Motions to amend pleadings to be filed                under Fed. R. Civ. P. 26(a)(3)(B), by
       by within 14 days of this order.                      within 14 days        .

3.     Plaintiff to file a final list of expert              Defendant to file a final exhibit list 14
       witness(es) in chief and serve expert                 days thereafter.* Plaintiff to file
       reports by August 7, 2020          .*                 objections to defendant’s final exhibit
       Defendant to file a final list of expert              list, under Fed. R. Civ. P. 26 (a)(3)(B) by
       witness(es) in chief and serve expert                        within 14 days     .
       reports to plaintiff
        August 21, 2020 .*                                   *The listing of witnesses and exhibits
                                                             shall separately state those expected to
4.     Plaintiff to file a final list of witnesses,          be called or used and those which may
       together with addresses and brief                     be called or used if the need arises.
       summary of expected testimony where a                 Except for good cause shown, no
       witness has not already been deposed,                 witness will be permitted to testify and
       by August 21, 2020         .* Defendant to            no exhibit will be admitted in any
       file a final list of witnesses (as                    party’s case in chief unless such
       described above) fourteen (14) days                   witness or exhibit was included in the
       thereafter.*                                          party’s filed witness or exhibit list.
          Case 5:20-cv-00014-D Document 9 Filed 04/06/20 Page 2 of 3



6.    Discovery to be completed by                11.   Requested voir dire to be filed by
       October 4, 2020 .                                 November 3, 2020       .

7.    All dispositive and Daubert motions to      12.   Trial briefs (optional unless otherwise
      be filed by September 4, 2020** .                 ordered) to be filed by
                                                         November 3, 2020 .
      **If dispositive motions are filed, the
      trial setting will change. The parties      13.   Requested jury instructions to be filed on
      may also move to stay unexpired                   or before November 3, 2020.*****
      scheduling order deadlines pending
      the Court’s ruling on dispositive           14.   Proposed findings and conclusions of law
      motions. Absent such a motion, all                to be filed not later than
      deadlines will remain in full force and              November 3, 2020.*****
      effect.
                                                        *****In addition to filing, the parties
8.    Trial docket December 1, 2020 ***                 are encouraged, but not required, to
                                                        submit their proposed jury
      ***Trial dockets generally begin the              instructions or findings of fact and
      second Tuesday of each month.                     conclusions of law in Word format to
      However, this practice varies,                    the Clerk via the Court’s designated
      particularly during holidays. The                 mail box:
      published trial docket will announce               degiusti-orders@okwd.uscourts.gov.
      the trial setting.
                                                  15.   Any objection or responses to the trial
      The interval between the dispositive              submissions referenced in 10, 11, 12, 13,
      motion deadline (¶ 7) and the trial               or 14 to be filed within fourteen (14)
      docket (¶ 8) is relatively inflexible. An         days thereafter.
      extension of time to file or respond to a
      motion for summary judgment will            16.   The Final Pretrial Report, approved by all
      likely affect the trial setting.                  counsel, and in full compliance with
                                                        Local Rules (see Appendix IV), together
9.    Designations of deposition testimony to           with a proposed order approving the
      be used at trial to be filed by                   report, to be submitted to the Court by
       November 3, 2020 . Objections and                 November 3, 2020.
      counter-designations to be filed by
        7 days thereafter . Objections to
      counter-designations to be filed by
        7 days thereafter       .

10.   Motions in limine to be filed by
       November 3, 2020            .****

      ****Unless leave of Court to file
      separate motions in limine is granted,
      all motions in limine shall be
      consolidated into a single filing, which
      shall be subject to the page limitation
      in LCvR 7.1(e).****
      Case 5:20-cv-00014-D Document 9 Filed 04/06/20 Page 3 of 3




17.     This case is referred to ADR:

               Mediation by agreement of the parties, exempt from LCvR 16.3.
               by Order of the Court:

                       Court-Ordered Mediation subject to LCvR 16.3.
                       Judicial Settlement Conference
                       Other __________________________

       If the Court orders mediation, the process shall be completed and a report filed with the
Court by the parties, stating whether the case settled, or not later than ____________________.

18.     Except as otherwise specifically ordered by the assigned judge, this case will
        not be scheduled for a judicial settlement conference unless, not later than
        fourteen (14) days after the trial docket is published, the parties file a joint
        motion requesting a judicial settlement conference. The motion shall
        contain a certification by counsel that the parties have been advised of the
        motion and approve its filing. The motion shall further describe in detail
        the settlement efforts made and dispute resolution techniques previously
        used in the case.

19.      The parties consent to trial by a Magistrate Judge.

20.     Initial disclosures pursuant to Fed. R. Civ. P. 26 have been made ; are excused
        ; or  shall be made not later than ____________________________.

21.    Other: Objections to exhibits must be shown in the Final Pretrial Report or may
be deemed waived. Corporate Disclosure to be filed within 7 days

        Dated this 6th day of April, 2020


                                BY ORDER OF THE COURT
                                CARMELITA REEDER SHINN, CLERK OF COURT


                                By: /s/ Mike Bailey_______________________
                                                           Deputy Clerk


Copies to all parties
